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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

           GOVERNMENT’S MOTION FOR WRITTEN JURY QUESTIONNAIRE

         The Government moves for a written jury questionnaire to be completed by potential jurors

  in advance of in-person jury selection. Because the pre-trial publicity surrounding this case is

  substantial, the Government recommends a thorough jury selection process, including a written

  questionnaire completed by potential jurors before in-person voir dire. A questionnaire—which

  is “now a common complement to oral examination when selecting an effective and impartial

  jury,” United States v. Isaacson, 752 F.3d 1291, 1301 (11th Cir. 2014)—will make jury selection

  more efficient and effective by allowing the parties and Court to identify uncontested strikes for

  cause and hardship before in-person voir dire begins, and to conduct informed individual

  questioning of a winnowed venire. See United States v. Lehder-Rivas, 955 F.2d 1510, 1523 (11th

  Cir. 1992) (“In cases involving extensive publicity, this Circuit has expressed a preference for an

  individual voir dire conducted by the trial court outside the presence of prospective jurors.”). This

  approach will facilitate the type of “thorough jury-selection process” commended by the Supreme




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  Court in cases of this profile. See, e.g., United States v. Tsarnaev, 595 U.S. 302, 312 (2022);

  Mu’Min v. Virginia, 500 U.S. 415, 425 (1991).

         The Government is mindful of the Court’s prior order that, apart from the dates set forth

  therein and the dates previously set for calendar call and trial, any further deadlines will be set

  after a scheduling conference on March 1, 2024. ECF Nos. 215 at 8, 221. However, given the

  lead time that the Clerk’s Office will need to implement a jury questionnaire, beginning the process

  after March 1 will likely not provide the Court with sufficient time prior to trial. As described

  below, previous cases in this District in which questionnaires were used suggest that the Clerk’s

  Office requires approximately ten weeks’ time for the questionnaire process, which includes

  mailing questionnaires to potential jurors to be returned to the Clerk’s Office in post-marked

  envelopes. In this case, that means that a final questionnaire would need to be approved before on

  or about March 11 for a May 20 trial.

         As an alternative, the Court could have jurors summoned to the courthouse in advance of

  the trial date to complete questionnaires—a practice sometimes used in other districts. But that

  too would require some additional notice to the Clerk’s Office, as summonses would have to be

  issued earlier than they would be for jurors to appear for the first time on May 20.

         For these reasons, and those elaborated below, the Government moves the Court to set a

  deadline of February 2 for the parties to submit a joint proposed jury questionnaire. The

  Government has conferred with defense counsel about this motion. They oppose the motion

  because they believe the relief sought is premature and would not be an economical use of the

  parties’ time before the Court has ruled on discovery demands or other motions. The Government

  disagrees for the reasons discussed herein.




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  I.     Using a Juror Questionnaire Protects a Defendant’s Sixth Amendment Rights and
         Facilitates a Fair and Efficient Jury Selection Process When There Is Pre-trial
         Publicity

         “A trial court protects the defendant’s Sixth Amendment right by ensuring that jurors have

  ‘no bias or prejudice that would prevent them from returning a verdict according to the law and

  evidence.’” Tsarnaev, 595 U.S. at 312 (quoting Connors v. United States, 158 U.S. 408, 413

  (1895)). “[A]s in any case, the district court’s duty is to conduct a thorough jury-selection process

  that allows the judge to evaluate whether each prospective juror is ‘to be believed when he says he

  has not formed an opinion about the case.’” Id. at 313 (quoting Mu’Min, 500 U.S. at 425).

         A written questionnaire, used as part of a comprehensive voir dire process, is a potent tool

  to sift out potential jury bias in cases where there has been substantial media attention. “We

  consider the . . . questionnaire in assessing the quality of voir dire as a whole.” Skilling v. United

  States, 561 U.S. 358, 388 (2010) (quoting United States v. Skilling, 554 F.3d 529, 562 n.51 (5th

  Cir. 2009)). “Written questionnaires are now a common complement to oral examination when

  selecting an effective and impartial jury,” Isaacson, 752 F.3d at 1301, and are “routinely

  employ[ed] . . . to facilitate voir dire in a number of circumstances,” id. (quoting United States v.

  Quinones, 511 F.3d 289, 299 (2d Cir. 2007)), including “where there has been extensive pre-trial

  publicity.” Quinones, 511 F.3d at 299.

         The district courts’ decisions to use prospective juror questionnaires in Tsarnaev and

  Skilling are instructive, because the Supreme Court viewed their use favorably in affirming the

  voir dire process in those highly-publicized cases. See Tsarnaev, 595 U.S. at 314 (noting the

  reasonableness of the district court’s approach to voir dire and concluding that “[i]f any doubt

  remained, the rest of the jury-selection process [which included a thorough jury questionnaire and

  individualized in-person voir dire] dispels it”); Skilling, 561 U.S. at 384 (“Although the widespread




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  community impact necessitated careful identification and inspection of prospective jurors’

  connections to Enron, the extensive screening questionnaire and follow up voir dire were well

  suited to that task.”).

          In Tsarnaev, where the defendant was charged with the Boston Marathon bombings, “[i]n

  preparation for jury selection, the parties jointly proposed a 100-question form to screen the

  prospective jurors.” Tsarnaev, 595 U.S. at 308. “The District Court summoned an expanded jury

  pool of 1,373 prospective jurors and used the 100-question juror form to cull that down to 256.

  The questionnaire asked prospective jurors what media sources they followed, how much they

  consumed, whether they had ever commented on the bombings in letters, calls, or online posts,

  and, most pointedly, whether any of that information had caused the prospective juror to form an

  opinion about Dzhokhar [Tsarnaev]’s guilt or punishment.” Id. at 314.

          In Skilling, in which a former Enron executive was charged with fraud, the district court

  used a 77-question, 14-page questionnaire. The questionnaire “asked prospective jurors about,

  inter alia, their sources of news and exposure to Enron-related publicity, beliefs concerning Enron

  and what caused its collapse, opinions regarding the defendants and their possible guilt or

  innocence, and relationships to the company and to anyone affected by its demise.” 561 U.S. at

  371. The court then mailed the questionnaire to 400 prospective jurors and received responses

  from nearly all of them. Id. at 372. It granted hardship exemptions to about 90 individuals, and

  with the court’s approval, the parties further winnowed the pool by excusing another 119 for cause,

  hardship, or physical disability. Id.

          Courts in this District have similarly used written questionnaires, filled out by jurors in

  advance of trial, in cases that have generated substantial pre-trial publicity. See United States v.

  Guruceaga, et al., No. 18-cr-20685-Williams [ECF No. 118] (S.D. Fla. June 18, 2019) ($1 billion




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  money laundering and embezzlement scheme involving the Venezuelan national oil company);

  United States v. Melgen, No. 15-cr-80049-Marra [ECF No. 187] (S.D. Fla. Dec. 7, 2016) ($73

  million Medicare fraud case); United States v. Robaina, No. 13-cr-20346-Ungaro [ECF No. 94]

  (S.D. Fla. March 12, 2014) (former mayor of the City of Hialeah charged with tax fraud); United

  States v. Pizzi, No. 13-cr-20815-Cooke [ECF No. 109] (S.D. Fla. Feb. 26, 2014) (Miami Lakes

  mayor charged in kickback and bribery scheme); United States v. Mentor, No. 11-cr-20351-

  Graham [ECF No. 123] (S.D. Fla. Apr. 18, 2012) (murder and robbery of U.S. Postal worker);

  United States v. Khan, et al., No. 11-cr-20331-Scola [ECF Nos. 291 & 293] (S.D. Fla. Apr. 2,

  2012) (terrorism financing case); United States v. Hassoun, No. 04-60001-CR-Cooke, 2007 WL

  4180847, at *3 (S.D. Fla. Nov. 20, 2007) (terrorism case); United States v. Aguero, 248 F. Supp.

  2d 1150, 1151, (S.D. Fla. 2003) (Miami police officers charged in public corruption scheme).

         Given the media coverage this case has received, a written questionnaire that probes

  exposure and potential bias is a necessary step in the jury selection process. It will make the jury

  selection process more efficient and aid the Court and the parties in identifying potential bias in

  the jury venire.

  II.    Jury Questionnaires Must Be Finalized Well in Advance of Trial to Ensure Sufficient
         Time for the Process

         The Government proposes that the parties confer on potential questions and submit to the

  Court a joint questionnaire identifying areas of disagreement sufficiently in advance of the date on

  which it must be finalized, so that the Court can approve a final version, including holding a

  hearing if necessary. Potential jurors should then complete questionnaires sufficiently in advance

  of in-person voir dire so that the parties and Court can winnow the venire, as occurred in the cases

  cited above, and prepare to conduct thorough and informed in-person questioning.




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         Based on the Government’s experience and research, in cases in this District in which

  written questionnaires have been used, the Court has implemented them by mailing the

  questionnaires to potential jurors and having them returned to the Clerk in post-marked envelopes.

  To ensure that there is sufficient time for that to occur, including receiving responses

  approximately one month before in-person voir dire, judges in this District have stated that

  questionnaires must be mailed to prospective jurors at least ten weeks before trial. See Mentor,

  No. 11-cr-20351-Graham [ECF No. 123] (April 18, 2012) (“Special Jury Questionnaires need to

  be sent out at least 10 weeks prior to Trial”).

         In Melgen, a $73 million Medicare fraud case that had substantial pre-trial publicity, the

  district judge determined that five weeks before trial was too late to deploy a questionnaire:

                I’ve checked and it seems as if both sides are in agreement with using the
         questionnaire. There may be some issues about what can be done with the
         information, but nobody seems to object to it. We’ve checked with the jury office
         in terms of how to go about doing this and it is just not feasible to do at this late
         date. It’s too close to the trial date to get anything of this nature circulated to
         prospective jurors. So, it is just too late.

                 In order to do something of this nature, they would have to create a separate
         jury questionnaire, and with the number of jurors we might need to seat a jury in
         this case, we are told that they would have to send it to about a thousand people,
         hoping they would get a hundred responses or so, and that has to be done in about
         two months or more, ten weeks before the scheduled trial date.

  Melgen, No. 15-cr-80049-Marra [ECF No. 160], Transcript of Aug. 11, 2016 Hearing, pp. 3-4

  (S.D. Fla. Aug. 17, 2016). Only because trial was subsequently continued on separate grounds

  was the district court able to use a questionnaire. See id. [ECF No. 187] (Dec. 7, 2016).

         If the same procedure were used in this case, to ensure that questionnaires are ready to be

  mailed to potential jurors ten weeks from the May 20, 2024, trial date, they would need to be

  finalized by on or about March 11. Accomplishing that requires enough time beforehand to allow




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  for meaningful conferral among the parties and for the Court to consider and resolve disputes.

  Time may also be required to print questionnaires and conduct other processing.

          For these reasons, judges in this District have ordered parties in criminal cases to submit a

  proposed jury questionnaire three and a half to four months before the start of trial. See, e.g.,

  Mentor, No. 11-cr-20351-Graham [ECF No. 123] (April 18, 2012) (ordering parties to submit joint

  proposed questionnaire three and a half months before trial date); United States v. Guruceaga, et

  al., No. 18-cr-20685-Williams [ECF No. 118] (S.D. Fla. June 18, 2019) (same, four months before

  trial date).

          Alternatively, the Court could summon the venire to appear in person at the courthouse to

  fill out written jury questionnaires there, rather than mailing them and having jurors return them.

  Other jurisdictions endorse this practice. For example, jurors completed questionnaires in person

  at the courthouse in advance of trial in United States v. Bowers, No. 18-292-RJC (W.D. Pa.), see

  https://triblive.com/local/prospective-jurors-in-tree-of-life-case-being-summoned-to-federal-

  court-to-fill-out-questionnaires/, and in United States v. Menendez, No. 2:15-cr-155-WHW

  (D.N.J.), see ECF Nos. 182, 183. This process would have the advantage of ensuring that jurors

  personally complete the questionnaires and would provide the Court with more up-to-date

  information about the potential jurors’ exposure to media coverage in the run-up to trial. If the

  Court wished to obtain completed questionnaires before the start of in-person voir dire on May 20,

  2024, additional lead time would be necessary to issue a summons for an appropriate date.

          Regardless of which procedure the Court selects, the Government respectfully requests that

  the process begin promptly. This request is not premature, and is intended to avoid an occurrence

  like the one the court initially experienced in Melgen, Transcript of Aug. 11, 2016 Hearing, pp. 3-

  4, where options were unavailable because there was insufficient time to implement them.




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  Accordingly, the Government requests that the Court order the parties to draft and file a joint

  proposed questionnaire with indications as to which questions the parties agree on and which they

  do not, by February 2, 2024—three and a half months before trial. This will allow sufficient time

  for the parties and Court to finalize the questionnaire and implement either of the procedures set

  forth above.

  III.   Conclusion

         For these reasons, the Government moves the Court to set a February 2, 2024, deadline for

  the parties to jointly submit a proposed jury questionnaire identifying areas of disagreement.1

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel
                                               N.Y. Bar No. 2678084

                                        By:    /s/ Jay I. Bratt
                                               Jay I. Bratt
                                               Counselor to the Special Counsel
                                               Special Bar ID #A5502946
                                               950 Pennsylvania Avenue, NW
                                               Washington, D.C. 20530

                                               David V. Harbach, II
                                               Assistant Special Counsel
                                               Special Bar ID #A5503068

                                               Michael E. Thakur
                                               Assistant Special Counsel
                                               Florida Bar No. 1011456

  December 19, 2023




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         The Government intends to recommend other procedures to protect the identities, privacy,
  and security of prospective and selected jurors, but those procedures can be addressed in briefing
  and argument scheduled with other pretrial deadlines, after the March 1, 2024 status conference.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on December 19, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via

  transmission of Notices of Electronic Filing.

                                                  /s/ Jay I. Bratt
                                                  Jay I. Bratt




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